                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

In Re:
DONNA LYNN PICKLESIMER,                                    Case No. 18-55784
                                                           Chapter 13
              Debtor.                                            Judge SHEFFERLY

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                ORDER DISCHARGING DEBTOR PURSUANT TO 11 USC §1328(b)

       This matter was brought by motion of the Debtor, DONNA LYNN PICKLESIMER. All parties

were properly noticed, and no response was timely filed. The Court being otherwise fully advised:

        IT IS ORDERED that the Debtor is entitled a Chapter 13 discharge pursuant to 11 USC

§1328(b) and this Chapter 13 case is terminated.




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